Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 1 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 2 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 3 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 4 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 5 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 6 of 7
Case 4:10-cr-10003-JEM Document 224 Entered on FLSD Docket 03/09/2011 Page 7 of 7
